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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

UNITED STATES OF AMERICA

       v.                                               Case No. 1:25-mj-204

HENRRY JOSUE VILLATORO SANTOS,

       Defendant.

                           AFFIDAVIT IN SUPPORT OF A
                    CRIMINAL COMPLAINT AND ARREST WARRANT
       I, Jason Klepec, being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Deportation Officer with United States Immigration and Customs

Enforcement (“ICE”) in Chantilly, Virginia.

       2.      I have been employed with ICE for more than 15 years. During that time, I have

received general law enforcement training. I have also received specialized training in and

conducted investigations relating to administrative and criminal violations of the Immigration and

Nationality Act and Titles 8 and 18 of the United States Code. My duties as a Deportation Officer

include investigating administrative and criminal violations of the Immigration and Nationality

Act and Titles 8 and 18 of the United States Code and seeking, when applicable, prosecution and

removal of violators.

       3.      I am currently assigned as a task force officer (“TFO”) to Federal Bureau of

Investigation (“FBI”) Squad CR-7 of the Washington Field Office’s Criminal Investigative

Division. In this role, I investigate federal narcotics crimes, transnational gangs, and other criminal

enterprises.


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       4.      I submit this affidavit in support of a criminal complaint and arrest warrant charging

HENRRY JOSUE VILLATORO SANTOS (hereinafter “VILLATORO”), with possession of a

firearm by a prohibited person – here, an alien illegally in the United States – in violation of 18

U.S.C. § 922(g)(5)(A).

       5.      The facts and information contained in this affidavit are based upon my personal

knowledge, training, and experience, as well as information and evidence obtained from witnesses

and other law enforcement officials. All observations I did not personally make were relayed to

me by the individuals who made them or come from my review of records, documents, and other

physical evidence obtained during the course of this investigation.

       6.      This affidavit contains information necessary to support probable cause for this

application. It is not intended to include each and every fact and matter observed by me or known

to the United States. This affidavit also reflects my current understanding of facts relating to this

investigation, but my understanding may change in the future as the investigation proceeds.

                                      PROBABLE CAUSE

       7.      According to record checks with the United States Department of Homeland

Security (“DHS”), VILLATORO is a native and citizen of El Salvador who is not legally present

in the United States.

       8.      On March 27, 2025, FBI agents executed a federal search warrant issued by the

Honorable Lindsey R. Vaala, United States Magistrate Judge, at 3632 Chippendale Circle in

Woodbridge, Virginia (hereinafter, “the residence”). VILLATORO’s mother had reported a

burglary at that address in August 2024, and FBI agents conducting surveillance had routinely

observed VILLATORO entering and exiting that residence throughout March of this year.




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       9.        After knocking and announcing their presence to no avail, members of the FBI’s

Special Weapons and Tactics (“SWAT”) Team breached the front and rear doors of the residence.

After breaching the front door, SWAT agents observed VILLATORO in an alcove leading to the

residence’s garage. VILLATORO ducked behind a small wall out of view and did not comply

with the agents’ demands that he exit the residence. After agents deployed a stun grenade,

VILLATORO eventually came close enough to the front door to be pulled out of the residence.

       10.       VILLATORO was taken into custody on an outstanding administrative

immigration warrant. When VILLATORO was being prepared for transport from the residence,

he confirmed that the bedroom in the garage was his room and that a jacket inside that room was

his.

       11.       FBI agents and TFOs proceeded to search the residence. Inside the aforementioned

garage bedroom, a Taurus, model G2C, 9-millimeter handgun bearing serial no. ACH119455 was

observed in plain view on a shelf near the bed. Based on my training and experience, I am aware

that Taurus firearms are not manufactured in the Commonwealth of Virginia. Furthermore, the

words “TAURUS ARMAS MADE IN BRAZIL” are stamped into the handgun’s slide next to the

serial number.

       12.       In that same garage bedroom, agents located three additional firearms, ammunition,

and two suppressors.




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      13.   FBI agents and TFOs also observed indicia of MS-13 association in the garage

bedroom.




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Lindsey R Vaala Digitally signed by Lindsey R Vaala
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